             Case Case  20-2630, Document
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      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
      ____________________________________

       STATE OF NEW YORK, et al.,
                                                                 DESIGNATION OF
                            Plaintiffs,                          THREE-JUDGE PANEL
                                                                 PURSUANT TO 28 U.S.C. §2284(b)
                   ‐ against ‐
                                                                 Docket No. 20-cv-5770(JMF)
       DONALD J. TRUMP, in his official capacity                            20-2630
       as President of the United States, et al.,
                                                                        USDC SDNY
                        Defendants.
       ___________________________________
                                                                        DOCUMENT
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                                                                        DOC #:   _________________
      ROBERT A. KATZMANN, Chief Circuit Judge:                          DATE FILED: ______________

             Having received a request from United States District Judge Jesse M. Furman to appoint
      a three-judge panel to hear the above-mentioned matter pursuant to 28 U.S.C. §2284(b)(1), I
      hereby designate United States Circuit Judge Richard C. Wesley and United States Circuit Judge
      Peter W. Hall to serve as members of the Court to hear and determine the action.

      IT IS SO ORDERED.


      10th day of August, 2020
      New York, New York


                                                          ______________________________
                                                              ROBERT A. KATZMANN
                                                                  Chief Circuit Judge




CERTIFIED COPY ISSUED ON 08/10/2020
